
Chancellor De Saussure
delivered the opinion of the Court.
In ordinary cases it might be sufficient to say, that the Court is unanimously of opinion the decree delivered in this case by Chancellor Harper is correct, and must be affirmed. But the very confident tone in which it was insisted by the counsel for the plaintiff, Thomas B. Bona, that the decree was erroneous in principle, and that the authorities on which it professed to rely were wholly untenable, or inapplicable, require that something more should be said. The Court has reexamined the statutes which required construction, as well as the cases which have been decided under them ; and upon full consideration, is entirely satisfied that the construction heretofore given to the statutes respecting the half blood is the correct construction, and that the cases decided, were rightly decided, and are in harmony with each other.
The Court expresses itself in this decided manner, that it may be understood by the profession and the community, that the construction and doctrine established by this decree is permanently settled, and the door to further litigation on the subject closed.
It is therefore unanimously adjudged and decreed, that the decree of the Circuit Court be affirmed.
